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Case 2:05-Cr-20132-BBD Document 35 Filed 08/24/05 Page 1 of 2 Page|D 42

iN THE UNITED STATES D|STRICT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
MEMPH!S DlVlS|ON

uNiTED eTATEs or AMERicA §
P|aintifi §
§ chM. N0.2:05c¢20132-D
vs. § n §§ .'n
§ eS-» § §
RICHARD Es'rE\/ANES § F::;f§§ 3 W
Defendant § .…i-“" " §
i?~§'§° §
0 R D E R .¢:- g
w s=

 

On thisi¢;[_day of QHJ M g , 2005. came to be heard Defendant’s

Unopposed Motion for Continuance, and after due consideration of the

same it is the opinion of the Cou:t that Defendant's motion is hereby
[M]GANTED, and this case is hereby reset to L(Qg@é_¢._/ &; QQ' AJ/.
[ 1 DEN|ED.
|T |S SO ORDERED.

SlGNED this the Qr§£/_dey of , 005.

 

This document entered on the docket iam in compliance

with Huie 55 endior 32(b) FFiCrP on "

 

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This notice confirms a copy of the document docketed as number 35 in
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Honorable Bernice Donald
US DISTRICT COURT

